12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                   Pg 1 of 53




                            EXHIBIT H
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                   Pg 2 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                   Pg 3 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                   Pg 4 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                   Pg 5 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                   Pg 6 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                   Pg 7 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                   Pg 8 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                   Pg 9 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 10 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 11 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 12 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 13 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 14 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 15 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 16 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 17 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 18 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 19 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 20 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 21 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 22 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 23 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 24 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 25 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 26 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 27 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 28 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 29 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 30 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 31 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 32 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 33 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 34 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 35 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 36 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 37 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 38 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 39 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 40 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 41 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 42 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 43 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 44 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 45 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 46 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 47 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 48 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 49 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 50 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 51 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 52 of 53
12-12020-mg   Doc 2361-10   Filed 12/07/12 Entered 12/07/12 17:11:13   Exhibit H
                                  Pg 53 of 53
